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 1   DANIEL G. BOGDEN
     United States Attorney
 2   CRISTINA D. SILVA
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South, Suite 5000
     Las Vegas, Nevada 89101
 4   Phone: (702) 388-6336
     Fax: (702) 388-6698
 5
                         UNITED STATES DISTRICT COURT
 6
                              DISTRICT OF NEVADA
 7                                   -oOo-
 8   UNITED STATES OF AMERICA,                        )   Case No. 2:12-cr-00237-APG-CWH
                                                      )
 9                       Plaintiff,                   )   Stipulation to Continue Revocation
                                                      )   Hearing
10      vs.                                           )
                                                      )
11   PERLA RAMIREZ,                                   )
                                                      )
12                       Defendant.                   )

13
                    IT IS HEREBY STIPULATED AND AGREED, by and between DANIEL G.
14   BOGDEN, United States Attorney, and CRISTINA D. SILVA, Assistant United States
15   Attorney, counsel for the United States of America, and MICHAEL KIMBRELL, Esq., counsel

16   for defendant PERLA RAMIREZ, that the hearing on the defendant’s supervised release
     violation in the above-captioned matter, currently scheduled for August 5, 2015, at 10:30 am,
17
     be vacated and continued for ten (10) days, to a date and time to be set by this Honorable
18
     Court.
19
                    This stipulation is entered into for the following reasons:
20
                    1.      The Government intends on filing a motion that will impact Ms.
21   Ramirez’s status as a material witness. Additional time is needed for the Government to file

22   that motion and for the Court to consider the motion. The motion may impact the defendant’s

23   resolution of her alleged supervised release violations.

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 1
                    2.         The parties and the United States Probation Office anticipate agreeing to
 2   a recommendation for a revocation of the defendant’s supervised release.
 3                  3.         The parties agree to the brief continuance.

 4                  4.         The defendant is incarcerated and does not object to the continuance.

                    5.         Additionally, denial of this request for continuance could result in a
 5
     miscarriage of justice.
 6
                    6.         The additional time requested herein is not sought for purposes of delay,
 7
     but allow for a possible resolution to the defendant’s material witness hold, which may impact
 8
     the resolution of the instant matter.
 9                  DATED this 4th day of August, 2015.
10                                                                   Respectfully submitted,
                                                                     DANIEL G. BOGDEN
11                                                                   United States Attorney

12

13              //s//                                                        //s//
     MICHAEL KIMBRELL, ESQ.                                          CRISTINA D. SILVA
14   Counsel for Defendant                                           Assistant United States Attorney
     PERLA RAMIREZ
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 1                       UNITED STATES DISTRICT COURT
 2                            DISTRICT OF NEVADA
                                                     -oOo-
 3
     UNITED STATES OF AMERICA,                           ) Case No. 2:12-cr-00237-APG-CWH
 4                                                       )
                          Plaintiff,                     ) ORDER
 5                                                       )
        vs.                                              )
 6                                                       )
     PERLA RAMIREZ,                                      )
 7                                                       )
                         Defendant.
 8
                                             FINDINGS OF FACT
 9
                    Based on the pending Stipulation of counsel, and good cause appearing
10
     therefore, the Court finds that:
11
                    1.         The Government intends on filing a motion that will impact Ms.
12   Ramirez’s status as a material witness. Additional time is needed for the Government to file

13   that motion and for the Court to consider the motion. The motion may impact the defendant’s

14   resolution of her alleged supervised release violations.

                    2.         The parties and the United States Probation Office anticipate agreeing to
15
     a recommendation for a revocation of the defendant’s supervised release.
16
                    3.         The parties agree to the brief continuance.
17
                    4.         The defendant is incarcerated and does not object to the continuance.
18                  5.         Additionally, denial of this request for continuance could result in a
19   miscarriage of justice.

20                  6.         The additional time requested herein is not sought for purposes of delay,

21   but allow for a possible resolution to the defendant’s material witness hold, which may impact

     the resolution of the instant matter.
22
                    7.         This is the first request to continue the hearing regarding revocation of
23
     supervised release date filed herein.
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                                                     3
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                    For all of the above-stated reasons, the ends of justice would best be served by a
 2   continuance of the revocation hearing.
 3                                     CONCLUSIONS OF LAW

 4                  The ends of justice served by granting said continuance outweigh the best

     interest of the public and the defendant, since the failure to grant said continuance would be
 5
     likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 6
     opportunity within which to be able to effectively and thoroughly prepare for the hearing, as
 7
     well as possibly resolve the alleged violations of supervised release, taking into account the
 8
     exercise of due diligence.
 9                                                 ORDER

10                  IT IS THEREFORE ORDERED that the revocation
                                                      preliminaryhearing
                                                                   hearing currently

11   scheduled for August 5,
                          4, 2015, at the hour of 10:30 am, be vacated and continued to
     August 19, 2015
     ______________________                10:30 am/pm.
                            at the hour of ______   .
12

13                        5th day of August, 2015.
                    DATED ____
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                                                   ___________________________________
                                                   HONORABLE ANDREW P. GORDON
16                                                 UNITED STATES DISTRICT COURT JUDGE
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